     Case 1:03-cr-00059-MP-AK             Document 203       Filed 09/14/07     Page 1 of 2


                                                                                          Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:03-cr-00059-MP-AK

SUSAN DYE MUMMAU,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 200, Report and Recommendation of the

Magistrate Judge, which recommends that Defendant’s Motion to Vacate, Doc. 183, be denied.

The Magistrate Judge filed the Report and Recommendation on Wednesday, August 1, 2007.

The parties have been furnished a copy of the Report and have been afforded an opportunity to

file objections. Pursuant to Title 28, United States Code, Section 636(b)(1), this Court must

make a de novo review of those portions to which an objection has been made. In this instance,

however, no objections have been filed.

       Under the then-mandatory Sentencing Guidelines, Defendant Mummau was sentenced to

twenty-four months incarceration. In her motion to vacate, Defendant states that because the

Supreme Court declared the mandatory nature of the Guidelines unconstitutional, United States

v. Booker, 542 U.S. 124, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005), she should be resentenced.

The Eleventh Circuit has held that “Booker’s constitutional rule falls squarely under the category

of new rules of criminal procedure that do not apply retroactively to § 2255 cases on collateral

review.” Varela v. United States, 400 F.3d 864, 868 (11th Cir. 2005). Also, as the Magistrate

points out, because the Eleventh Circuit could not foresee the applicability of Blakely to the

Sentencing Guidelines, counsel cannot be deemed ineffective for lack of similar foresight.
      Case 1:03-cr-00059-MP-AK          Document 203        Filed 09/14/07        Page 2 of 2


                                                                                          Page 2 of 2


Therefore, having considered the Report and Recommendation, and the lack of objections

thereto, I have determined that it should be adopted. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       The Report and Recommendation of the Magistrate Judge is adopted and
                 incorporated herein.

        2.       Defendant Mummau’s Motion to Vacate is DENIED.

        DONE AND ORDERED this           14th day of September, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




Case No: 1:03-cr-00059-MP-AK
